    Case: 1:16-cv-03792 Document #: 112 Filed: 07/13/21 Page 1 of 2 PageID #:423




                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF ILLINOIS
                                        EASTERN DIVISION

ANTHONY D. KOLTON, S. DAVID                             )
GOLDBERG and JEFFREY S. SCULLEY,                        )
individually and on behalf of a class of all others     )
similarly situated,                                     )
                                                        )
                                        Plaintiffs,     )
                        v.                              )       No. 16-cv-3792
                                                        )
MICHAEL W. FRERICHS,                                    )
Treasurer of the State of Illinois,                     )
                                        Defendant.      )

                    PLAINTIFFS’ MOTION FOR PRELIMINARY
               APPROVAL OF PROPOSED CLASS ACTION SETTLEMENT

        Plaintiffs, on behalf of themselves and the Rule 23(b)(2) Class they represent and

proposed Plaintiff Henry C. Krasnow, on behalf of the putative Rule 23(b)(3) Settlement Class

he seeks to represent, move this Court for an order (a) preliminarily approving the proposed

class action settlement of the Plaintiffs’ claims against Defendant, Michael Frerichs, Treasurer of

the State of Illinois, (b) finding that the Rule 23(b)(3) Settlement Class is likely to be certified at

final approval, and (c) setting a Fairness Hearing for final approval of the Settlement. Plaintiffs

are also filing contemporaneously their unopposed Motion for Leave to file their Second

Amended and Supplemental Complaint adding Henry C. Krasnow as named Plaintiff on behalf

of the Rule 23(b)(3) Settlement Class.

        The Agreement of Settlement was entered into after five years of litigation and arms-

length negotiations, and is fair, reasonable, adequate, and likely to warrant final approval under

the Seventh Circuit’s long-standing class settlement fairness factors and the requirements of Fed.

R. Civ. P. 23(e)(2). Moreover, the proposed Rule 23(b)(3) Settlement Class satisfies, and is

certifiable under, Fed. R. Civ. P. 23(a) and (b)(3). A copy of the Agreement of Settlement
    Case: 1:16-cv-03792 Document #: 112 Filed: 07/13/21 Page 2 of 2 PageID #:424




(Exhibit 1), including the Exhibits to the Agreement, Proposed Preliminary Approval Order

(Exhibit A), Rule 23(b)(3) Settlement Class Notice (Exhibit A-1), Summary Notice (Exhibit A-

2) and Final Judgment (Exhibit B) are attached to this Motion. The Declarations of Class

Representatives Anthony Kolton, S. David Goldberg and Jeffrey Sculley, and the Declaration of

proposed Rule 23(b)(3) Settlement Class Representative, Henry C. Krasnow are attached as

Exhibits 2, 3, 4 and 5. In further support of this Motion, Plaintiffs submit Plaintiffs’

Memorandum of Law in Support of Motion for Preliminary Approval of Proposed Class Action

Settlement.

       For the above reasons, as well as those set forth in the supporting materials submitted

herewith, Plaintiffs’ Motion should be granted, and the Court should enter an order in the form

proposed preliminarily approving the settlement.

                                              Respectfully submitted,

                                              /s/ Terry Rose Saunders
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                                               Counsel for Plaintiffs and the Rule 23(b)(2)
                                               Class and the Rule 23(b)(3) Settlement Class


Dated: July 13, 2021



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